       Case 2:06-cr-00058-JAM Document 356 Filed 08/28/09 Page 1 of 2



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 9
                      IN THE UNITED STATES DISTRICT COURT
10
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,    )
                                  )
13                 Plaintiff,     )        No. 2:06-CR-0058 FCD
                                  )
14            v.                  )
                                  )
15   JAGPRIT SINGH SEKHON,        )        STIPULATION RE: SCHEDULED FOR
     JAGDIP SINGH SEKHON,         )        TRIAL OF FORFEITURE ALLEGATIONS
16   MANJIT KAUR RAI,             )
         aka Manjit Kaur Kang,    )
17   IOSIF CAZA,                  )
     LUCIANA HARMATH,             )
18                                )
                   Defendants.    )
19   _____________________________)

20       The United States of America, by its attorneys, Lawrence G.

21   Brown, the United States Attorney for the Eastern District of

22   California, and Benjamin B. Wagner, Camil A. Skipper and Kyle

23   Reardon, Assistant United States Attorneys, and defendant Jagdip

24   Singh Sekhon, by his attorney David Dratman, and defendant Iosif

25   Caza, by his attorney Tim Zindel, do hereby stipulate and agree as

26   follows:

27       1.     The currently scheduled dates for the trial confirmation

28              hearing for the forfeiture trial relating to defendants

                                          1
       Case 2:06-cr-00058-JAM Document 356 Filed 08/28/09 Page 2 of 2



 1             Jagdip Sekhon and Iosif Caza in this case, and the

 2             forfeiture trial, which dates are August 31, 2009 and

 3             September 11, 2009, respectively, should be vacated.

 4       2.    The trial confirmation hearing for the forfeiture trial

 5             should be rescheduled for October 19, 2009, at 10:00 am.

 6       3.    A date for the trial of the forfeiture matter will be set

 7             by further stipulation.

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 9   SO STIPULATED AND AGREED:

10

11   DATED: August 28, 2009                   LAWRENCE G. BROWN
                                              United States Attorney
12
                                            /S/ Benjamin Wagner
13                                        By:___________________________
                                             BENJAMIN B. WAGNER
14                                           Assistant U. S. Attorney

15
                                              /S/ Benjamin Wagner, for
16   DATED: August 28, 2009                   ___________________________
                                              DAVID DRATMAN
17                                            Attorney for Defendant
                                              Jagdip Singh Sekhon
18
                                              /S/ Benjamin Wagner, for
19   DATED: August 28, 2009                   ___________________________
                                              TIM ZINDEL
20                                            Attorney for Defendant
                                              Iosif Caza
21

22

23   SO ORDERED:

24

25   August 28, 2009

26                                       _______________________________________
                                         FRANK C. DAMRELL, JR.
27
                                         UNITED STATES DISTRICT JUDGE
28

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